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                                                                                 UNITED STATES DISTRICT COURT
                                                       16
                                                                                CENTRAL DISTRICT OF CALIFORNIA
                                                       17
                                                                                         SOUTHERN DIVISION
                                                       18
                                                       19
                                                       20   BOARDRIDERS, INC.                            Case No.: 8:21-cv-01260 JLS-JDE
                                                       21
                                                                        Plaintiff/Counter-Defendant, PLAINTIFF/COUNTER-DEFENDANT
                                                       22                                            BOARDRIDERS, INC.’S NOTICE OF
                                                       23         v.                                 MOTION AND MEMORANDUM OF
                                                                                                     POINTS AND AUTHORITIES IN
                                                       24                                            SUPPORT OF MOTION TO STRIKE
                                                       25   GREAT AMERICAN INSURANCE
                                                            COMPANY                                      Date:   TBD
                                                       26                                                Time: TBD
                                                       27               Defendant/Counter-               Ctrm.: 10A
                                                                        Claimant.                        Judge: Hon. Josephine L. Staton
                                                       28                                                Complaint Filed: July 26, 2021

                                                             PLAINTIFF/COUNTER-DEFENDANT BOARDRIDERS, INC.’S NOTICE OF MOTION AND MEMORANDUM
                                                                           OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO STRIKE
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                                                        1                         NOTICE OF MOTION AND MOTION
                                                        2         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                        3         PLEASE TAKE NOTICE that on a time and date to be determined by the Court,
                                                        4   this matter may be heard in Courtroom 10A of the above-titled Court, located at 411
                                                        5   West Fourth Street, Santa Ana, CA 92701, Plaintiff/Counter-Defendant Boardriders,
                                                        6   Inc. (“Boardriders”) will and hereby does move for an Order striking
                                                        7   Defendant/Counter-Claimant Great American Insurance Company’s (“GAIC”)
                                                        8   Paragraph Nos. 1, 22, 37-41, 47, 59, 69, 72, 79, and 92 in GAIC’s Answer (ECF No.
                                                        9   23); Affirmative Defense Nos. 1-8, 11-25, and 27-31 in GAIC’s Answer (ECF No. 23),
                                                       10   all footnotes in GAIC’s Counterclaim (ECF No. 23), and GAIC’s exhibits to its
                                                       11   Counterclaim (ECF Nos. 23-1, 23-2, 23-3).
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                                                       12         Boardriders makes this Motion under Fed. R. Civ. P. 12(f) and requests:
                                                       13         (1) The Court strike Affirmative Defense Nos. 1-8, 11-25, and 27-31 because: (a)
                                                       14   they are not affirmative defenses at all; (b) fail to meet the “fair notice” pleading
                                                       15   standard; and/or (c) are redundant, immaterial or impertinent;
                                                       16         (2) The Court strike the prayer for relief following GAIC’s Affirmative Defenses
                                                       17   because it is redundant and improperly requests relief;
                                                       18         (3) The Court strike GAIC’s footnotes and exhibits because they contain
                                                       19   information immaterial or impertinent to this insurance coverage dispute and violate
                                                       20   Fed. R. Civ. P. 10(b) and 8(a)(2) by pleading evidence; and
                                                       21         (4) The Court strike material in GAIC’s Answer because rather than only
                                                       22   admitting or denying, GAIC makes new allegations, violating Fed. R. Civ. P. 8(b).
                                                       23         This motion is based upon Fed. R. Civ. P. 12(f), this Notice, the Memorandum
                                                       24   of Points and Authorities herein, and the Court’s file in this action, and such other
                                                       25   evidence and argument as may be presented at or before the hearing on this Motion.
                                                       26         This motion is made following a telephone conference of counsel pursuant to
                                                       27   Local Rule 7.3, which took place on October 11, 2021.
                                                       28
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                                                             PLAINTIFF/COUNTER-DEFENDANT BOARDRIDERS, INC.’S NOTICE OF MOTION AND MEMORANDUM
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                                                       25   Japan Forward, October 15, 2019, https://japan-forward.com/japan-gears-
                                                               up-for-long-lasting-effects-of-typhoon-hagibis-as-death-toll-rises-to-
                                                       26      74/ ............................................................................................................................ 19
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                                                       1    NPR, November 11, 2019,
                                                              https://www.npr.org/2019/11/11/778271273/australia-wildfires-
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                                                              stateof-emergency-declared-over-catastrophic-danger ........................................... 18
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                                                            NPR, October 15, 2019,
                                                       4      https://www.npr.org/2019/10/15/770224030/japan-drawson-
                                                       5      emergecy-fund-to-pay-for-aftermath-of-typhoon.................................................... 19
                                                       6    ScienceMag, October 22, 2019,
                                                       7       https://www.sciencemag.org/news/2019/10/deadly-typhoon-forces-
                                                               japan-face-its-vulnerability-increasingly-powerful-storms ..................................... 19
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                                                       1                   MEMORANDUM OF POINTS AND AUTHORITIES
                                                       2                                       INTRODUCTION
                                                       3          “In state court, lawyers routinely file kitchen-sink affirmative defenses…In
                                                       4    federal court, greater adherence to the rules is required. This sort of junk-pleading is
                                                       5    unacceptable.” Vogel v. Huntington Oaks Delaware Partners, LLC, 291 F.R.D. 438,
                                                       6    442 (C.D. Cal. 2013) (granting motion to strike).
                                                       7          This case is an insurance coverage action whereby Boardriders seeks coverage
                                                       8    from its insurer, Defendant Great American Insurance Company (“GAIC”), for losses
                                                       9    incurred as a result of a catastrophic 2019 ransomware attack that devastated
                                                       10   Boardriders’ global systems. Notwithstanding the fact that the breach of contract and
                                                       11   declaratory relief claims pleaded by Boardriders present a fairly straightforward dispute
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                                                       12   over the quantum of loss owed, particularly in light of the fact that GAIC has previously
                                                       13   admitted coverage and paid a portion of the loss due, GAIC now asserts thirty-one
                                                       14   affirmative defenses, as well as a counterclaim supported by twenty-one footnotes with
                                                       15   external hyperlinks to over twenty-five unrelated news articles and reports – none of
                                                       16   which mention Boardriders or have anything to do with this dispute.
                                                       17         1. The Court Should Strike Affirmative Defenses Nos. 1-8, 11-25, and 27-31
                                                       18         Not surprisingly, many of the purported affirmative defenses are not affirmative
                                                       19   defenses at all. Of those that remain, the majority that could constitute an “affirmative
                                                       20   defense” are fatally deficient. See Slocum v. JPMorgan Chase Bank, No.
                                                       21   SACV19620JVSKESX, 2019 WL 6873653, at *4 (C.D. Cal. July 8, 2019) (striking
                                                       22   affirmative defenses that were “not tied to any factual allegations whatsoever”). GAIC
                                                       23   fails to provide “fair notice” to Boardriders as to the nature of all of these affirmative
                                                       24   defenses, as it fails to point to the existence of any facts at all, let alone provide even a
                                                       25   hint as to how the purported defenses could apply here.
                                                       26         GAIC’s “affirmative defenses” do not zealously reflect advocacy. Rather, they
                                                       27   confound the real, straightforward issues of the case, needlessly enlarge discovery, and
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                                                       1    increase the burden and expense of this litigation for a plaintiff insured who, due to
                                                       2    GAIC’s conduct, has still not been made whole by its insurance after the financial strain
                                                       3    of a crippling, global cyber-attack.
                                                       4          2. The Court Should Strike GAIC’s Affirmative Defenses “Prayer for Relief”
                                                       5          Additionally, the prayer for relief following GAIC’s Affirmative Defenses is
                                                       6    improper because it conflates what should be a 12(b)(6) motion into a request for relief,
                                                       7    is redundant to the prayer for relief in GAIC’s Counterclaim, and improperly seeks
                                                       8    attorneys’ fees. These affirmative defenses and prayer for relief should be stricken.
                                                       9          3. The Court Should Strike GAIC’s Footnotes and Exhibits
                                                       10         GAIC’s Counterclaim contains 21 separate single-spaced footnotes that
                                                       11   incorporate 20 website addresses and at least 25 different third-party news articles or
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                                                       12   reports that are impertinent and immaterial, yet GAIC purports to cite them, improperly,
                                                       13   as some sort of evidence. Several footnotes refer to attached exhibits on issues such as
                                                       14   Chinese tariffs, Australian wildfires, and climate change marches; issues that are not
                                                       15   material to the cyberattack insurance coverage dispute here.
                                                       16         While it remains unclear if GAIC’s use of footnotes and exhibits sought to
                                                       17   circumvent the optics of filing what likely would have been an over 50-page
                                                       18   Counterclaim without footnotes, what is clear is that GAIC’s excessive use of footnotes
                                                       19   and exhibits violates this Court’s Standing Order and Rules 8(a)(2), 10(b), and 12(f) of
                                                       20   the Federal Rules of Civil Procedure. GAIC’s excessive use of footnotes and immaterial
                                                       21   exhibits severely prejudices Boardriders, because it would be unduly costly and
                                                       22   burdensome to force Boardriders to conduct discovery on the unnecessary quagmire of
                                                       23   information included in GAIC’s footnotes and exhibits to determine which allegations
                                                       24   GAIC truly believes are material to its claims against Boardriders.
                                                       25         4. The Court Should Strike Material Portions of GAIC’s Answer
                                                       26         Further, GAIC’s Answer to Boardriders’ Complaint goes beyond the substance
                                                       27   of an admission or denial of Boardriders’ allegations and instead improperly injects new
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                                                       1    allegations in the Answer. In doing so, GAIC’s responses fail to comport with Federal
                                                       2    Rule of Civil Procedure 8(b). These responses should be stricken as well.
                                                       3            For the reasons discussed herein and to avoid significant prejudice to Boardriders,
                                                       4    Boardriders respectfully requests that the Court strike Affirmative Defense Nos. 1-8,
                                                       5    11-25, and 27-31, the prayer for relief following the Affirmative Defenses, all of
                                                       6    GAIC’s footnotes and exhibits from its Counterclaim, and Paragraph Nos. 1, 22, 37-41,
                                                       7    47, 59, 69, 72, 79, and 92 of GAIC’s Answer.
                                                       8                                  FACTUAL BACKGROUND
                                                       9            GAIC issued a Corporate Protection Insurance policy to “Quiksilver, Inc. and all
                                                       10   majority owned and/or controlled entities” for the policy period of January 15, 2017 to
                                                       11   January 15, 2020 (“Policy”). 1 The Policy expressly provides coverage, including Loss
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                                                       12   of Earnings coverage, for “Extortion,” defined to include the cyber extortion. In October
                                                       13   2019, Boardriders suffered such an “Extortion,” a RYUK ransomware attack that
                                                       14   paralyzed global systems and significantly impacted Boardriders’ ability to operate its
                                                       15   business and stores normally for many weeks, including through the holiday season.
                                                       16   Boardriders provided prompt notice of the Extortion to GAIC, per the Policy’s terms.
                                                       17           After several substantial delays by GAIC, including a nearly eight-month delay
                                                       18   between notice of the loss and GAIC’s first substantive coverage communication, GAIC
                                                       19   eventually admitted coverage for Business Interruption Loss under the Loss of Earnings
                                                       20   coverage section and paid a large portion of Boardriders’ covered business interruption
                                                       21   losses. However, in December 2020, GAIC stopped paying. GAIC has since refused to
                                                       22   pay the remaining amounts due, has manufactured numerous delays, sought to
                                                       23   overburden its insured with countless unnecessary document demands (despite much of
                                                       24   the information having already been provided to GAIC and despite GAIC’s early
                                                       25   investigation that was, by GAIC’s admission, sufficient for it to pay several million
                                                       26   dollars owed under the Policy), and has forced Boardriders to incur several hundred
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                                                       28      1
                                                                   Quiksilver, Inc. was rebranded as Boardriders, Inc. in March 2017.
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                                                       1    thousand dollars in uncovered attorneys’ and accountants’ fees to respond to GAIC’s
                                                       2    conduct. GAIC continues to delay, obfuscate, and manufacture defenses to further
                                                       3    prevent payment owed under the terms of the Policy.
                                                       4                                     APPLICABLE LAW
                                                       5          Under Fed. R. Civ. P. 12(f), “the court may strike from a pleading an insufficient
                                                       6    defense or any redundant, immaterial, impertinent, or scandalous matter.” Fed. R. Civ.
                                                       7    P. 12(f). “The function of a 12(f) motion to strike is to avoid the expenditure of time
                                                       8    and money that must arise from litigating spurious issues by dispensing with those
                                                       9    issues prior to trial....” Fantasy, Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993),
                                                       10   rev’d on other grounds, 510 U.S. 517 (1994). A motion to strike is properly granted
                                                       11   “for the purpose of streamlining the ultimate resolution of the action” including for
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                                                       12   delay, and confusion of the issues. Id.
                                                       13                                        ARGUMENT
                                                       14   I.    The Court Should Strike Affirmative Defense Nos. 1-8, 11-25, and 27-31.
                                                       15         A.     SEVERAL “AFFIRMATIVE DEFENSES” ARE NOT AFFIRMATIVE DEFENSES
                                                       16         AT ALL. THEY SHOULD BE STRICKEN WITHOUT LEAVE TO AMEND.

                                                       17         First, several of GAIC’s affirmative defenses should be stricken because they are
                                                       18   simply not cognizable affirmative defenses. “A defense which demonstrates that
                                                       19   plaintiff has not met its burden of proof is not an affirmative defense.” Zivkovic v. S.
                                                       20   California Edison Co., 302 F.3d 1080, 1088 (9th Cir. 2002) (emphasis added). “Rather,
                                                       21   a defense is an affirmative defense if it will defeat the plaintiff's claim even where the
                                                       22   plaintiff has stated a prima facie case for recovery under the applicable law.” Quintana
                                                       23   v. Baca, 233 F.R.D. 562, 564 (C.D. Cal. 2005).
                                                       24                 1.   Attacks on Boardriders’ Prima Facie Case Are Not Affirmative
                                                       25                 Defenses.
                                                       26         Here, GAIC’s Seventh, Eighth, Eleventh, Twelfth, Thirteenth, Fourteenth,
                                                       27   Fifteenth and Twenty-Fourth Affirmative Defenses should be stricken because they are
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                                                       1    not affirmative defenses to begin with; rather, they simply attempt to negate elements
                                                       2    of Boardriders’ pleaded claims by alleging that GAIC did not act or fail to act as alleged.
                                                       3    “Affirmative defenses that serve as nothing more than denials of the Plaintiff's claims
                                                       4    are not affirmative defenses at all.” Bureau of Consumer Fin. Prot. v. Performance SLC,
                                                       5    LLC, No. SACV2002132DOCDFM, 2021 WL 2982275, at *2 (C.D. Cal. Apr. 2, 2021)
                                                       6    (striking affirmative defense because it was a “negative defense”… and is therefore not
                                                       7    a proper affirmative defense). GAIC states:
                                                       8    • Seventh Affirmative Defense: “Boardriders is barred from obtaining relief against
                                                       9       GAIC because GAIC’s conduct was at all times reasonable, proper, in good faith,
                                                       10      and in compliance with applicable law.”
                                                       11   • Eighth Affirmative Defense: “GAIC at no time breached any contractual or other
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                                                       12      legal duty owed to Boardriders.”
                                                       13   • Eleventh Affirmative Defense: “Coverage under the Policy is barred or limited to
                                                       14      the extent the amounts for which Boardriders seeks coverage were not sustained
                                                       15      directly because of an “Insured Event” as that term is defined in the Policy.”
                                                       16   • Twelfth Affirmative Defense: “Coverage under the Policy is barred or limited to the
                                                       17      extent Boardriders seeks coverage for amounts that do not constitute ‘Insured
                                                       18      Losses’ as that term is defined in the Policy.”
                                                       19   • Thirteenth Affirmative Defense: “Coverage under the Policy is barred or limited to
                                                       20      the extent Boardriders seeks coverage for amounts that do not constitute ‘Business
                                                       21      Interruption Loss’ as that term is defined in the Policy.”
                                                       22   • Fourteenth Affirmative Defense: “Coverage under the Policy is barred or limited to
                                                       23      the extent Boardriders seeks coverage for amounts that do not result from the
                                                       24      necessary interruption of business caused directly and solely by an Insured Event.”
                                                       25   • Fifteenth Affirmative Defense: “Coverage under the Policy is barred or limited
                                                       26      because Boardriders has not proven that the amounts it seeks coverage for resulted
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                                                       1       from the necessary interruption of business caused directly and solely by an Insured
                                                       2       Event.”
                                                       3    • Twenty-Fourth Affirmative Defense: “Boardriders cannot meet its burden of
                                                       4       proving any tortious breach of the implied covenant of good faith and fair dealing,
                                                       5       much less any proper basis for punitive damages, because GAIC at all times acted
                                                       6       reasonably in connection with the matters complained of in Boardriders’ Complaint,
                                                       7       including but not limited to reasonably assessing coverage consistent with the
                                                       8       language of the Policy, available information, and applicable law.”
                                                       9          “An attack on a plaintiff’s case-in-chief is not an affirmative defense.” Vogel v.
                                                       10   Huntington Oaks Delaware Partners, LLC, 291 F.R.D. 438, 442 (C.D. Cal. 2013)
                                                       11   (citing Zivkovic, 302 F.3d at 1088). “None of the affirmative defenses discussed in this
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                                                       12   section preclude liability in the event Plaintiff’s prima facie case succeeds.” TSX Toys,
                                                       13   Inc. v. 665, Inc., No. EDCV1402400RGKDTBX, 2015 WL 12746211, at *9 (C.D. Cal.
                                                       14   Sept. 23, 2015).
                                                       15         Here, GAIC seeks to poke holes in Boardriders’ allegations supporting its causes
                                                       16   of action and claimed damages. This is not the function of an affirmative defense.
                                                       17   Accordingly, these defenses are not true affirmative defenses and should be stricken
                                                       18   without leave to amend. See Gibson Brands Inc. v. Viacom Int'l Inc., No.
                                                       19   CV1210870DDPAJWX, 2016 WL 8931305, at *3 (C.D. Cal. Sept. 29, 2016) (striking
                                                       20   “affirmative defenses” as invalid where defenses merely contradicted plaintiff’s
                                                       21   allegations and required showing and prohibiting leave to amend those defenses);
                                                       22   Chowning v. Kohl's Dep't Stores, Inc., No. CV1508673RGKSPX, 2016 WL 7655753,
                                                       23   at *3 (C.D. Cal. Apr. 1, 2016) (striking certain defenses with prejudice since the
                                                       24   “affirmative defenses” were merely “negative defenses”); Figueroa v. Islands
                                                       25   Restaurants L.P., No. CV 12-00766-RGK JCGX, 2012 WL 2373249, at *2 (C.D. Cal.
                                                       26   June 22, 2012) (striking purported affirmative defenses of failure to state a claim and
                                                       27   that certain statutes did not apply, finding defenses to be “general denials” rather than
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                                                       1    affirmative defenses); accord Lorenzen v. Arch Ins. Co., No. 3:06-CV-0219-P, 2006
                                                       2    WL 8437697, at *4 (N.D. Tex. June 21, 2006) (striking affirmative defense that insurer
                                                       3    defendant “acted in good faith at all times” because “it does not plead a specific
                                                       4    affirmative defense. Instead, it is a denial of Plaintiffs’ allegations.”).
                                                       5                   2.   “Failure to State a Claim” is Not an Affirmative Defense.
                                                       6          GAIC’s Second Affirmative Defense states, “Boardriders’ Complaint fails to
                                                       7    state a claim upon which relief may be granted.” (ECF No. 23, Answer at 20:1-3). “But
                                                       8    failure to state a claim is not an affirmative defense; it is a defect in a plaintiff’s claim
                                                       9    and not an additional set of facts that would bar recovery notwithstanding the plaintiff’s
                                                       10   valid prima facie case.” Vogel, 291 F.R.D. at 442. Accordingly, the purported
                                                       11   “affirmative defense” should be stricken without leave to amend. See e.g. Rosen v.
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                                                       12   Masterpiece Mktg. Grp., LLC, 222 F. Supp. 3d 793, 803 (C.D. Cal. 2016) (striking
                                                       13   failure to state a claim “affirmative defense” without leave to amend); Barnes v. AT &
                                                       14   T Pension Ben. Plan-Nonbargained Program, 718 F. Supp. 2d 1167, 1174 (N.D. Cal.
                                                       15   2010) (same); Boldstar Tech., LLC v. Home Depot, Inc., 517 F. Supp. 2d 1283, 1292
                                                       16   (S.D. Fla. 2007) (“Failure to state a claim is a defect in the plaintiff’s claim; it is not an
                                                       17   additional set of facts that bars recovery notwithstanding the plaintiff’s valid prima facie
                                                       18   case. Therefore, it is not properly asserted as an affirmative defense.”); Rosario v. 11343
                                                       19   Penrose Inc., No. 2:20-CV-04715-SB-RAO, 2020 WL 8812460, at *11 (C.D. Cal. Oct.
                                                       20   26, 2020) (same).
                                                       21                  3.   A Reservation to Assert More Affirmative Defenses is Not an
                                                       22                  Affirmative Defense.
                                                       23         GAIC’s First Affirmative Defense, reserving its right to assert additional
                                                       24   defenses, must be stricken, too. See e.g., Vogel, 291 F.R.D. at 442 (“Huntington’s
                                                       25   twenty-sixth affirmative defense simply reserves the right to assert unspecified defenses
                                                       26   later. This is not a defense at all, affirmative or otherwise.”). The purported affirmative
                                                       27   defense states:
                                                       28
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                                                       1          GAIC affirmatively asserts any other matter constituting avoidance or
                                                       2          affirmative defense under applicable law not asserted below, and GAIC
                                                       3          reserves the right to assert additional defenses that may be revealed or
                                                       4          become applicable during further investigation and discovery in this
                                                       5          action.
                                                       6    (ECF No. 23, Answer at 19:23-26).
                                                       7          “This is not a defense of any kind.” Gonzalez v. Heritage Pac. Fin., LLC, No.
                                                       8    2:12-CV-01816-ODW, 2012 WL 3263749, at *3 (C.D. Cal. Aug. 8, 2012) (striking,
                                                       9    with prejudice, purported defense reserving rights to add affirmative defenses).
                                                       10   Accordingly, the purported affirmative defense should be stricken. See e.g. Id.; Ahmed
                                                       11   v. HSBC Bank USA, Nat'l Ass'n, No. EDCV152057FMOSPX, 2017 WL 5720548, at *3
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                                                       12   (C.D. Cal. Nov. 6, 2017) (striking reservation of defenses without leave to amend); Solis
                                                       13   v. Zenith Cap., LLC, No. C 08-4854 PJH, 2009 WL 1324051 (N.D. Cal. May 8, 2009)
                                                       14   (striking reservation defense “with prejudice”).
                                                       15                   4.   Assertions That Boardriders Fails to Allege a Claim for Punitive
                                                       16                   Damages are Not Affirmative Defenses.
                                                       17         “To the extent that the defense challenges the sufficiency of … allegations
                                                       18   supporting the imposition of punitive damages, it is a denial rather than an affirmative
                                                       19   defense.” DC Labs Inc. v. Celebrity Signatures Int'l, Inc., No. 12-CV-01454 BEN DHB,
                                                       20   2013 WL 4026366, at *6 (S.D. Cal. Aug. 6, 2013). Here, GAIC alleges in its Twenty-
                                                       21   Fifth Affirmative Defense that “Boardriders’ prayer for punitive damages is barred
                                                       22   because GAIC did not act with malice, oppression, or fraud in connection with the
                                                       23   matters complained of in Boardriders’ Complaint.” (ECF No. 23, Answer at 23:8-11).
                                                       24   This is not an affirmative defense and should be stricken. See e.g., Id.; Campbell v.
                                                       25   Tanton, No. 218CV0671KJMCKDP, 2021 WL 675313, at *3 (E.D. Cal. Feb. 22, 2021)
                                                       26   (same).
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                                                       1           B.      SEVERAL AFFIRMATIVE DEFENSES FAIL           TO   PROVIDE FAIR NOTICE.
                                                       2           THEY SHOULD BE STRICKEN.
                                                       3           Fed. R. Civ. P. 12(f) allows the Court to “strike from a pleading an insufficient
                                                       4    defense.” An affirmative defense is “insufficiently pleaded where it fails to provide the
                                                       5    plaintiff with fair notice of the defense asserted.” Vogel, 291 F.R.D. at 440 (citing
                                                       6    Wyshak v. City Nat’l Bank, 607 F.2d 824, 827 (9th Cir. 1979).
                                                       7           Many of GAIC’s affirmative defenses are insufficiently pleaded, providing no
                                                       8    fair notice to Boardriders as to the nature or basis of the purported defense. They should
                                                       9    be stricken.
                                                       10                   1.   Applicable Pleading Standard
                                                       11          In determining whether affirmative defenses are sufficiently pleaded, some
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                                                       12   courts in this District and in the Ninth Circuit apply the Twombly and Iqbal pleading
                                                       13   standards to affirmative defenses. 2 If the Twombly/Iqbal plausibility standard applies
                                                       14   here, nearly all of GAIC’s affirmative defenses must be stricken because all are
                                                       15   conclusory statements devoid of factual detail necessary to meet Twombly and Iqbal’s
                                                       16   substantive plausibility standard. See e.g. Nippon Sigmax Co., Ltd v. Kranos Corp., No.
                                                       17   821CV00375DOCADSX, 2021 WL 2634823, at *5 (C.D. Cal. June 25, 2021) (applying
                                                       18   the Twombly/Iqbal standard to analyze thirty-one affirmative defenses; striking all for
                                                       19   being “conclusory statements” insufficient to satisfy the plausibility standard). For
                                                       20   example, several of GAIC’s purported affirmative defenses state that Boardriders’
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                                                       22      2
                                                                 See e.g., Gomez v. J. Jacobo Farm Lab. Contractor, Inc., 188 F. Supp. 3d 986, 991
                                                       23   (E.D. Cal. 2016) (collecting cases and examining split in the Ninth Circuit); see also
                                                            Vogel, 291 F.R.D. at 440 (stating that the “majority of district courts in this Circuit,
                                                       24   including the entire Northern District and this Court, has consistently applied Twombly
                                                       25   and Iqbal to both claims and affirmative defenses”); LF Centennial Ltd. v. Inovex
                                                            Furnishings Corp., No. CV1705824ABMRWX, 2017 WL 9486124, at *5 (C.D. Cal.
                                                       26   Dec. 14, 2017) (applying Twombly’s plausibility standard to affirmative defenses);
                                                       27   Gottesman v. Santana, 263 F. Supp. 3d 1034, 1038 (S.D. Cal. 2017) (same); Audionics
                                                            Sys., Inc. v. AAMP of Fla., Inc., No. CV1210763MMMJEMX, 2013 WL 12129652, at
                                                       28   *5 (C.D. Cal. Nov. 19, 2013) (same).
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                                                       1    claims “may” be barred, in whole or in part, by a policy provision or unidentified law.
                                                       2    Others assert Boardriders cannot recover “to the extent” a policy provision may be
                                                       3    triggered. This language is “unnecessarily equivocal” and fails to “point to the existence
                                                       4    of some identifiable fact that if applicable to [Boardriders] would make the affirmative
                                                       5    defense plausible on its face.” Hernandez v. Cty. of Monterey, 306 F.R.D. 279, 285
                                                       6    (N.D. Cal. 2015).
                                                       7          We understand that “[t]his Court has repeatedly declined to apply the
                                                       8    Twombly/Iqbal standard to affirmative defenses.” In-N-Out Burgers v. Smashburger IP
                                                       9    Holder LLC, No. 8:17-CV-1474-JLS-DFM, 2018 WL 4959087, at *2 (C.D. Cal. Mar.
                                                       10   21, 2018) (Staton, J.). Even so, while “the ‘fair notice’ required by the pleading
                                                       11   standards only requires describing the defense in ‘general terms[,]’” Kohler v. Flava
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                                                       12   Enterprises, Inc., 779 F.3d 1016, 1019 (9th Cir. 2015), “affirmative defenses must be
                                                       13   supported by at least some facts indicating the grounds on which the defense is based,”
                                                       14   Rosen, 222 F. Supp. 3d at 802, even if they need “not include facts sufficient to
                                                       15   demonstrate plausible entitlement to relief.” Id. Thus, even under the “fair notice”
                                                       16   standard, GAIC’s affirmative defenses must still be stricken as they are devoid of
                                                       17   factual support necessary to provide notice to Boardriders of the grounds on which the
                                                       18   defense is based.
                                                       19                  2.   Affirmative Defenses That Are Mere Recitations of Legal
                                                       20                  Doctrines or Statutes Are Insufficiently Pleaded and Should Be
                                                       21                  Stricken.
                                                       22         Under the fair notice standard, the following affirmative defenses are insufficient
                                                       23   because they merely refer to legal doctrines with no explanation for how the defense
                                                       24   applies to the claims alleged in this case. They are insufficiently pleaded and should be
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                                                       1    stricken because each fails to provide fair notice to Boardriders. 3 See e.g., Rosen, 222
                                                       2    F. Supp. 3d at 804–05.
                                                       3    • Third Affirmative Defense: “Boardriders’ claim may be barred or limited by the
                                                       4       doctrines of estoppel and/or waiver.” (ECF No. 23, Answer at 20:4-6).
                                                       5    • Fourth Affirmative Defense: “Boardriders is not entitled to recover based on the
                                                       6       allegations in the Complaint to the extent Boardriders’ claim is barred by the defense
                                                       7       of unclean hands.” (ECF No. 23, Answer at 20:7-10).
                                                       8    • Fifth Affirmative Defense: “Boardriders is not entitled to recover based on the
                                                       9       allegations in the Complaint to the extent Boardriders’ own actions or the actions of
                                                       10      third parties were the sole cause of or contributed to Boardriders’ damages, if any.”
                                                       11      (ECF No. 23, Answer at 20:11-14).
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                                                       12   • Sixth Affirmative Defense: “Coverage under the Policy is excluded, in whole or in
                                                       13      part, to the extent Boardriders failed to mitigate its damages.” (ECF No. 23, Answer
                                                       14      at 20:15-17).
                                                       15   • Twenty-First Affirmative Defense: “Boardriders’ claims may be barred or limited
                                                       16      by the doctrine of unjust enrichment.” (ECF No. 23, Answer at 22:18-20).
                                                       17   • Twenty-Second Affirmative Defense: “Boardriders is precluded by law from
                                                       18      obtaining a windfall or ‘double recovery.’” (ECF No. 23, Answer at 22:21-23).
                                                       19   • Twenty-Third Affirmative Defense: “Boardriders is not entitled to recover from
                                                       20      GAIC any attorneys’ fees, costs, or expenses incurred in connection with this
                                                       21      action.” (ECF No. 23, Answer at 22:24-26).
                                                       22
                                                       23
                                                       24
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                                                               3
                                                                  Further, if GAIC’s Second Affirmative Defense (Failure to State a Claim) is
                                                            considered by the Court to be an affirmative defense, see supra § I.A.2., then it similarly
                                                       26   fails to provide fair notice to Boardriders of the basis for the defense. See Polk v. Legal
                                                       27   Recovery L. Offs., 291 F.R.D. 485, 490 (S.D. Cal. 2013). Similarly, GAIC’s First
                                                            Affirmative Defense, reserving rights to assert defenses, likewise fails to provide fair
                                                       28   notice.
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                                                       1    • Twenty-Eighth Affirmative Defense: “Coverage under the Policy is excluded, in
                                                       2       whole or in part, to the extent Boardriders failed to satisfy its cooperation obligations
                                                       3       under the Policy.” (ECF No. 23, Answer at 23:23-25).
                                                       4    • Twenty-Ninth Affirmative Defense: Boardriders is not entitled to recover against
                                                       5       GAIC based on the allegations in the Complaint to the extent Boardriders failed to
                                                       6       comply with the terms, conditions, definitions, exclusions, and other provisions in
                                                       7       the Policy or under applicable law. (ECF No. 23, Answer at 23:26-24:2).
                                                       8    • Thirtieth Affirmative Defense: “Boardriders’ claims are barred, in whole or in part,
                                                       9       by the common law, statutes, or insurance laws of the state whose law governs the
                                                       10      interpretation, construction, and/or scope of the Policy.” (ECF No. 23, Answer at
                                                       11      24:3-6).
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                                                       12   • Thirty-First Affirmative Defense: “Coverage may be barred, in whole or in part, by
                                                       13      public policy.” (ECF No. 23, Answer at 24:7-8).
                                                       14         A defendant’s singular reference to a doctrine or “identifying a category of
                                                       15   misconduct, without explaining what the specific misconduct alleged was [or allegation
                                                       16   that it did, in fact, occur], does not give fair notice of the grounds for the defense or
                                                       17   explain how the defense might apply in this case.” Gomez v. J. Jacobo Farm Lab.
                                                       18   Contractor, Inc., 188 F. Supp. 3d 986, 994 (E.D. Cal. 2016) (applying fair notice
                                                       19   standard; striking affirmative defenses devoid of “any factual allegation that would
                                                       20   support any of those defenses”). “A reference to a doctrine, like a reference to statutory
                                                       21   provisions, is insufficient notice.” Qarbon.com Inc. v. eHelp Corp., 315 F. Supp. 2d
                                                       22   1046, 1049 (N.D. Cal. 2004) (striking affirmative defenses for failing to provide “fair
                                                       23   notice”); J & J Sports Prods., Inc. v. Montanez, No. 1:10-CV-01693-AWI, 2010 WL
                                                       24   5279907, at *3 (E.D. Cal. Dec. 13, 2010) (striking affirmative defenses of unclean hands
                                                       25   and waiver).
                                                       26         In Rosen, the Court struck affirmative defenses where “[s]tanding alone, these
                                                       27   defenses are mere recitations of legal doctrines devoid of any factual allegations, and
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                                                       1    as such, they fail to provide ‘fair notice’ to Plaintiff.” Rosen, 222 F. Supp. 3d at 804–
                                                       2    05.
                                                       3          Similarly, here, GAIC has failed to assert what causes of action the purported
                                                       4    affirmative defenses apply to, failed to allege a single fact in support, and failed to
                                                       5    provide any other explanation as to why or how the purported affirmative defenses
                                                       6    apply to the case here. For example, in GAIC’s Twenty-Ninth Affirmative Defense, it
                                                       7    fails to state which policy provision or “applicable law” may purportedly apply to limit
                                                       8    coverage, and gives no indication of what jurisdiction’s law GAIC asserts is
                                                       9    “applicable.” In its Thirtieth Affirmative Defense, GAIC fails to state which
                                                       10   jurisdiction’s “law, statutes, or insurance laws” apply to bar coverage, let alone which
                                                       11   specific law, statutes, or “insurance laws” may apply.
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                                                       12         This is not fair notice. Accordingly, the Court should strike GAIC’s Third,
                                                       13   Fourth, Fifth, Sixth, Twenty-First, Twenty-Second, Twenty-Third, Twenty-Eighth,
                                                       14   Twenty-Ninth, Thirtieth and Thirty-First affirmative defenses.
                                                       15                 3.   Affirmative Defenses That Merely Cite Policy Provisions, Without
                                                       16                 Explaining How or Why They Apply, Are Insufficiently Pleaded.
                                                       17         Similarly, GAIC asserts several affirmative defenses stating that “[c]overage
                                                       18   under the Policy is barred or limited to the extent” the losses sought do not fall under
                                                       19   various cited policy provisions. See GAIC’s Eleventh, Twelfth, Thirteenth, Fourteenth,
                                                       20   and Fifteenth Affirmative Defenses, discussed supra, and GAIC’s Sixteenth
                                                       21   Affirmative Defense (“Coverage under the Policy is barred or limited to the extent
                                                       22   Boardriders seeks Loss of Earnings falling within the Policy’s Waiting Period, outside
                                                       23   the Policy’s Limits of Liability for Loss of Earnings, or incurred after the Indemnity
                                                       24   Period.”). (ECF No. 23, Answer at 21:25-28).
                                                       25         If these are truly affirmative defenses rather than mere denials, see Purdy Lane,
                                                       26   Inc. v. Scottsdale Ins. Co., No. 20-80966-CIV, 2020 WL 6484129, at *3 (S.D. Fla. Aug.
                                                       27   20, 2020) (where “defenses claim that, to the extent damages are not covered by the
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                                                       1    policy, Defendant is not liable for those damages[,] [t]hese are denials, not affirmative
                                                       2    defenses.”), the defenses lack sufficient factual detail to put Boardriders on fair notice
                                                       3    of (1) whether GAIC is actually asserting the referenced policy provision as a defense
                                                       4    to coverage for the claimed losses in this case; and (2) GAIC’s factual basis for the
                                                       5    defense and/or application of the cited provision to the losses at issue in this case.
                                                       6    Because the defenses fail to provide fair notice, they should be stricken. See e.g., Moss
                                                       7    v. GEICO Indem. Co., No. 5:10-CV-104-OC-10TBS, 2012 WL 882575, at *2 (M.D.
                                                       8    Fla. Mar. 15, 2012) (striking insurer’s affirmative defense to insured’s bad faith claim:
                                                       9    “each subpart of GEICO’s second affirmative defense begins with the words “[t]o the
                                                       10   extent.” Absent specifics, which GEICO has not supplied, it is impossible to know
                                                       11   whether any part of the second affirmative defense applies in this case.”).
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                                                       12                    4.   GAIC Failed to Sufficiently Plead Failure of Conditions
                                                       13                    Precedent or Subsequent Under Fed. R. Civ. P. 9(c).
                                                       14         GAIC’s duplicative Affirmative Defenses alleging failure to satisfy conditions
                                                       15   are also improper. See GAIC’s Eighteenth and Twenty-Seventh Affirmative Defenses.
                                                       16   (ECF No. 23, Answer at 22:5-8, 23:18-22). Although a party may plead generally the
                                                       17   occurrence or performance of all conditions precedent, a denial of such performance or
                                                       18   occurrence must be made “with particularity.” Fed. R. Civ. P. 9(c); see also, e.g.
                                                       19   Lorenzen, 2006 WL 8437697, at *3 (striking insurer’s affirmative defenses of “fail[ure]
                                                       20   to comply with conditions…” and “fail[ure] ‘to comply with any conditions precedent
                                                       21   and/or subsequent’” as insufficient where they failed to meet the heightened Fed. R.
                                                       22   Civ. P. 9(c)).
                                                       23         GAIC vaguely alleges that Boardriders has failed to somehow satisfy a
                                                       24   “condition precedent” of the insurance policy – this is not pleading with “particularity”
                                                       25   as required under Rule (9)(c). These defenses fail to provide fair notice of the nature
                                                       26   and grounds for the affirmative defense, including what the conditions precedent and
                                                       27   conditions subsequent are, let alone what, if any, of Boardriders purported actions or
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                                                       1    omissions GAIC believes trigger application of those unknown conditions. These
                                                       2    defenses should be stricken. See e.g., Varrasso v. Barksdale, No. 13-CV-1982-BAS-
                                                       3    JLB, 2016 WL 1375594, at *3 (S.D. Cal. Apr. 5, 2016) (granting motion to strike
                                                       4    affirmative defenses for failing to provide fair notice where the defenses alleged
                                                       5    nonperformance of conditions precedent and subsequent where the defendant failed to
                                                       6    allege what those conditions are); Bonshahi v. Fedex Corp., No. C12-2471 TEH, 2012
                                                       7    WL 3638608, at *4 (N.D. Cal. Aug. 22, 2012); (striking affirmative defenses because
                                                       8    “Defendants identify no ‘appropriate remedies’ Plaintiff must exhaust or
                                                       9    ‘conditions precedent.’”).
                                                       10         C.     THE COURT SHOULD STRIKE GAIC’S AFFIRMATIVE DEFENSES                   FOR

                                                       11         BEING REDUNDANT UNDER RULE 12(F).
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                                                       12         The Court should also strike GAIC’s Sixth, Seventh, Eighth, Eleventh, Twelfth,
                                                       13   Thirteenth, Fourteenth, Fifteenth, Sixteenth, Seventeenth, Eighteenth, Nineteenth,
                                                       14   Twentieth, Twenty-Seventh, Twenty-Eighth, and Twenty-Ninth Affirmative Defenses
                                                       15   for being redundant. (ECF No. 23, Answer at 20:15-24, 21:5-22:17, 23:18-24:2).
                                                       16         Redundant defenses are those that are “needlessly repetitive or wholly foreign to
                                                       17   the issues involved in the action.” J & J Sports Prods., Inc. v. Nguyen, No. 13-CV-
                                                       18   02008-LHK, 2014 WL 60014, at *8 (N.D. Cal. Jan. 7, 2014). “To the extent that [the
                                                       19   defendant] restates negative defenses that exist in other parts of the complaint, those
                                                       20   defenses are redundant pursuant to Rule 12(f) and should be struck so as to simplify and
                                                       21   streamline the litigation.” Gibson Brands, Inc. v. John Hornby Skewes & Co., No. CV
                                                       22   14-00609 DDP SSX, 2014 WL 4187979, at *6 (C.D. Cal. Aug. 22, 2014) (quoting
                                                       23   Barnes, 718 F. Supp. 2d 1167 at 1174; granting plaintiff’s motion to strike “redundant”
                                                       24   defenses under Rule 12(f) because the defenses repeated denials in other parts of the
                                                       25   answer).
                                                       26         Most of these affirmative defenses assert that coverage is purportedly excluded
                                                       27   or otherwise precluded or limited by the insurance policy’s terms and conditions (i.e.,
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                                                       1    they almost all begin with “Coverage under the Policy is barred” or “Coverage under
                                                       2    the Policy is excluded ...”). They needlessly repeat GAIC’s denials in its Answer to
                                                       3    Boardriders’ affirmative allegations in the Complaint and/or additional allegations
                                                       4    asserted in GAIC’s counterclaims. Further, many of these affirmative defenses are
                                                       5    duplicative of each other, further demonstrating GAIC’s shotgun approach to pleading.
                                                       6    The affirmative defenses are redundant and duplicative, and therefore should be stricken
                                                       7    from GAIC’s Answer. See e.g., Varrasso, 2016 WL 1375594, at *3 (striking affirmative
                                                       8    defenses where they are duplicative of other affirmative defenses).
                                                       9          D.     THE COURT SHOULD STRIKE GAIC’S TWENTY-EIGHTH AFFIRMATIVE
                                                       10         DEFENSE FOR BEING IMMATERIAL OR IMPERTINENT.
                                                       11         Under Rule 12(f), the Court may also strike material that is immaterial or
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                                                       12   impertinent. “‘Immaterial’ matter is that which has no essential or important
                                                       13   relationship to the claim for relief or the defenses being pleaded.” Fantasy, Inc., 984
                                                       14   F.2d at 1527. “‘Impertinent’ matter consists of statements that do not pertain, and are
                                                       15   not necessary, to the issues in question.” Id. GAIC’s Twenty-Eighth Affirmative
                                                       16   Defense states that “Coverage under the Policy is excluded, in whole or in part, to the
                                                       17   extent Boardriders failed to satisfy its cooperation obligations under the Policy.” (ECF
                                                       18   No. 23, Answer at 23:23-25). However, the Policy does not mention “cooperation”
                                                       19   once, nor does it have any provision that could be reasonably construed as a
                                                       20   “cooperation obligation.” Thus, the purported defense has no relationship to the
                                                       21   insurance policy at issue in this breach of contract and declaratory action and should be
                                                       22   stricken.
                                                       23   II.   A Prayer for Relief Should Be Stricken Where it is Redundant or Seeks
                                                       24         Improper Relief
                                                       25         Under Fed. R. Civ. P. 12(f), “the court may strike from a pleading an insufficient
                                                       26   defense or any redundant, immaterial, impertinent, or scandalous matter.” Fed. R. Civ.
                                                       27   P. 12(f). Following its affirmative defenses, GAIC adds a prayer for relief, beginning
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                                                       1    with “WHEREFORE, GAIC prays for judgment as follows[.]” (ECF No. 23, Answer at
                                                       2    24:10-14). The prayer should be stricken for at least three separate reasons.
                                                       3          First, GAIC concurrently files a counterclaim, asserting a prayer for relief a
                                                       4    second time. (ECF No. 23, Countercl. at 48:9-24). To do so twice is redundant and
                                                       5    unnecessary. As such, the Court has reason to strike the prayer for relief following
                                                       6    GAIC’s affirmative defenses on this basis alone.
                                                       7          Second, GAIC improperly “prays for judgment . . . [t]hat Boardriders’ Complaint
                                                       8    be dismissed in its entirety with prejudice.” (ECF No. 23, Answer at 24:10-11). A
                                                       9    request for this type of relief following affirmative defenses is improper. See Barnes,
                                                       10   718 F. Supp. 2d at 1174 (holding that a failure to state a claim under Rule 12(b)(6) is
                                                       11   more properly brought as a motion and not an affirmative defense). Similar to Barnes,
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                                                       12   here, GAIC tries to characterize a 12(b)(6) motion as requested relief following its
                                                       13   affirmative defenses. If GAIC wanted to obtain a dismissal of Boardriders’ claims, it
                                                       14   should have filed a 12(b)(6) motion.
                                                       15         Third, GAIC seeks relief that it is not entitled to. For example, GAIC seeks
                                                       16   attorneys’ fees, which are generally not awarded to prevailing defendants. See
                                                       17   California Dep't of Toxic Substances Control v. Alco Pac., Inc., 217 F. Supp. 2d 1028,
                                                       18   1045 (C.D. Cal. 2002) (stating that “[c]ourts do not generally award fees to prevailing
                                                       19   defendants in the absence of a statutory or contractual fee-shifting provision”). Because
                                                       20   parties are typically not entitled to such relief except for extenuating circumstances, the
                                                       21   request for relief is subject to be stricken. Id. at 1048 (granting plaintiff’s motion to
                                                       22   strike the attorneys' fees prayers found in defendants’ answer). Assuming arguendo that
                                                       23   the entire prayer is not stricken, which it should be, at the very least, GAIC’s request
                                                       24   for attorneys’ fees should be stricken.
                                                       25         Accordingly, Boardriders’ requests that the Court strike GAIC’s prayer for relief
                                                       26   that follows its affirmative defenses. (ECF No. 23, Countercl. at 48:9-24).
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                                                       1    III.   GAIC’s Footnotes and Exhibits Should Be Stricken
                                                       2           GAIC’s Counterclaim impermissibly contains 21 separate single-spaced
                                                       3    footnotes that incorporate over 20 website addresses and at least 25 different third-party
                                                       4    news articles or reports it claims describe “external/market forces” that caused
                                                       5    Boardriders’ losses—instead of the devastating ransomware attack, a covered
                                                       6    “Extortion” under the Policy which GAIC does not dispute occurred and is covered.
                                                       7    GAIC’s footnotes and exhibits contain information immaterial and impertinent to
                                                       8    Boardriders’ ransomware attack and thus should be stricken.
                                                       9           A.    THIS COURT     HAS   AUTHORITY      TO   STRIKE GAIC’S FOOTNOTES         AND

                                                       10          EXHIBITS UNDER RULE 12(F).
                                                       11          Rule 12(f) of the Federal Rules allows this Court to “strike from a pleading . . .
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                                                       12   any redundant, immaterial, impertinent, or scandalous matter.” Fed. R. Civ. P. 12(f).
                                                       13   GAIC’s Counterclaim and use of excessive footnotes violates Rule 12 of the Federal
                                                       14   Rules. “‘Immaterial’ matter is that which has no essential or important relationship to
                                                       15   the claim for relief or the defenses being pleaded .... ‘Impertinent’ matter consists of
                                                       16   statements that do not pertain, and are not necessary, to the issues in question.”
                                                       17   California Dep’t of Toxic Substances Control, 217 F. Supp. 2d at 1032.
                                                       18          While it would be difficult, and burdensome to the Court, for Boardriders to
                                                       19   compile a list of each of GAIC’s immaterial and impertinent factual allegations from
                                                       20   the 20 website addresses and 25 (or more) different third-party news articles or reports
                                                       21   in the Counterclaim and Exhibits, a few examples include the following:
                                                       22   • Footnote 16 citation to “Australia Wildfires: State of Emergency Declared Over
                                                       23      ‘Catastrophic’        Danger,”         NPR,          November         11,         2019,
                                                       24      https://www.npr.org/2019/11/11/778271273/australia-wildfires-stateof-emergency-
                                                       25      declared-over-catastrophic-danger; “Emergency declared as bushfire rages on
                                                       26      central    Queensland     coast,”    Brisbane      Times,   December        17,   2019,
                                                       27      https://www.brisbanetimes.com/au/national/queensland/emergency-declared-as-
                                                       28
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                                                       1       bushfire-rageson-central-queensland-coast-20191217-p53knn.html;                     “How
                                                       2       Australia’s bushfires spread: mapping the east coast fires,” The Guardian, January
                                                       3       10,         2020,     https://www.theguardian.com/news/datablog/2019/nov/21/how-
                                                       4       australias-bushfires-spread-mapping-the-nsw-and-queensland-fires;               “Australia
                                                       5       fires: A visual guide to the bushfire crisis,” BBC, January 31, 2020,
                                                       6       https://www.bbc.com/news/world-australia-50951043. (ECF No. 23, Countercl. at
                                                       7       42:15-20);
                                                       8    • Footnote 17 citation to “Recovery begins as Japan’s Typhoon Hagibis leaves trail
                                                       9       of     death         and     destruction,”     CNN,       October         13,       2019,
                                                       10      https://www.cnn.com/2019/10/13/asia/typhoon-hagibis-japan-rugby-intl-
                                                       11      hnk/index.html; “Japan’s Prime Minister Wars Of ‘Prolonged’ Effects of Typhoon
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                                                       12      Hagibis’            Destruction,”      NPR,           October       15,             2019,
                                                       13      https://www.npr.org/2019/10/15/770224030/japan-drawson-emergecy-fund-to-
                                                       14      pay-for-aftermath-of-typhoon; “Japan Gears Up for Long-Lasting Effects of
                                                       15      Typhoon Hagibis, As Death Toll Rises to 74,” Japan Forward, October 15, 2019,
                                                       16      https://japan-forward.com/japan-gears-up-for-long-lasting-effects-of-typhoon-
                                                       17      hagibis-as-death-toll-rises-to-74/; “Deadly typhoon forces Japan to face its
                                                       18      vulnerability to increasingly powerful storms,” ScienceMag, October 22, 2019,
                                                       19      https://www.sciencemag.org/news/2019/10/deadly-typhoon-forces-japan-face-its-
                                                       20      vulnerability-increasingly-powerful-storms; (ECF No. 23, Countercl. at 42:21-26);
                                                       21      and
                                                       22   • Footnote 19 citation to “Hundreds of thousands of students join global climate
                                                       23      strikes,”           The        Guardian,        November            29,             2019,
                                                       24      https://www.theguardian.com/environment/2019/nov/29/hundreds-of-thousands-
                                                       25      of-students-join-global-climate-strikes; “Switzerland: Tens of thousands join
                                                       26      climate march ahead of election,” Deutsche Welle, November 28, 2019,
                                                       27
                                                       28
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                                                       1       https://www.dw.com/en/switzerland-tens-ofthousands-join-climate-march-ahead-
                                                       2       of-election/a-50626988. (ECF No. 23, Countercl. at 43:21-24).
                                                       3    • Exhibit 3: GAIC describes Exhibit 3 as a “collection of articles.”
                                                       4           GAIC’s footnotes, ranging from a highway collapse in Italy to student protests
                                                       5    about climate change, do not pertain to the issues in question, are not essential to
                                                       6    GAIC’s claims for relief against Boardriders (seeking declaratory relief and repayment
                                                       7    of insurance benefits paid without reservation of a right to repayment), and have no
                                                       8    possible bearing upon the parties’ insurance dispute. Further, GAIC’s Exhibit 3 – a
                                                       9    collection of articles about the influence of COVID-19 on global markets and Exhibits
                                                       10   1 and 2 – concerning America tariffs on Chinese products, are irrelevant to this
                                                       11   insurance dispute.
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                                                       12          If anything, GAIC’s footnotes and exhibits unnecessarily complicate the issues
                                                       13   between the parties – particularly since GAIC has already accepted coverage for the
                                                       14   Cyber Incident – and could potentially “cause the trier of fact to draw ‘unwarranted’
                                                       15   inferences at trial” that could prejudice Boardriders. See California Dep’t of Toxic
                                                       16   Substances Control, 217 F. Supp. 2d at 1033 (finding that the possibility that issues will
                                                       17   be unnecessarily complicated or cause the trier of fact to draw “unwarranted” inferences
                                                       18   at trial is the type of prejudice that is sufficient to support the granting of a motion to
                                                       19   strike).
                                                       20          B.    GAIC’S USE      OF   EXCESSIVE FOOTNOTES VIOLATES            THE   FEDERAL
                                                       21          RULES.
                                                       22          Presumably, GAIC’s excessive footnotes and exhibits (referenced in the
                                                       23   footnotes) are intended to support GAIC’s outlandish allegations in the numbered
                                                       24   paragraphs of the Counterclaim. This type of evidence pleading, however, does not
                                                       25   comport with Rule 10(b). Rule 10(b) of the Federal Rules directs that “[a] party must
                                                       26   state its claims or defenses in numbered paragraphs, each limited as far as practicable
                                                       27   to a single set of circumstances.” Fed. R. Civ. P. 10(b) (emphasis added). GAIC, in
                                                       28
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                                                       1    violation of Rule 10(b), has alleged facts and stated claims – and evidence – in footnotes
                                                       2    and through exhibits, instead of numbered paragraphs. “[E]vidence pleading, as
                                                       3    distinguished from the pleading of ultimate facts, is not favored under the Federal
                                                       4    Rules.” Out West Rest. Grp. Inc. v. Affiliated FM Ins. Co., No. 20-CV-06786-TSH,
                                                       5    2020 WL 7122512, at *3 (N.D. Cal. Dec. 4, 2020) (citing In re Beef Indus. Antitrust
                                                       6    Litig., MDL Docket No. 248, 600 F.2d 1148, 1169 (5th Cir. 1979) complaint with leave
                                                       7    to amend to remove the footnotes and comply with Fed. R. Civ. P. 10’s requirement
                                                       8    that claims or defenses be stated in numbered paragraphs”).
                                                       9           GAIC’s footnotes and referenced exhibits also fail to meet the Rule 8(a)(2)
                                                       10   standard of pleading “a short and plain statement of the claim showing that the pleader
                                                       11   is entitled to relief” as with them, GAIC’s allegations vary from a half million person
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                                                       12   march in Madrid, Spain about climate change to the president of France’s plans to
                                                       13   reevaluate pension reform. Requiring Boardriders to spend hours reviewing all of this
                                                       14   immaterial and impertinent information—including fact checking the third-party
                                                       15   websites, congressional testimony, and articles to respond to and conduct discovery on
                                                       16   these allegations—is patently unfair and unduly burdensome. The Rules were designed
                                                       17   to avoid just this sort of conduct. 4
                                                       18          California courts, including this district, routinely warn litigants about the
                                                       19   excessive use of footnotes. See id.; Caldera v. J.M. Smucker Co., No. CV 12-4936-
                                                       20   GHK (VBKx) 2013 WL6987893, *1 (C.D. Cal. Oct. 4, 2013) (striking defendant’s
                                                       21   opposition from the record and ordering defendant to refile opposition brief without
                                                       22   footnotes); DeMarco v. DepoTech Corp., No. 98-CV-675-TW (POR), 1999 U.S. Dist.
                                                       23   LEXIS 15321, *1 (S.D. Cal. Sept. 14, 1999) (striking party’s reply memorandum for
                                                       24
                                                       25
                                                               4
                                                                 Local Rule 11-3 requires the font used “be standard (e.g., non-condensed) 14-point
                                                       26   or larger, or as the Court may otherwise order.” It appears that GAIC’s footnotes are
                                                       27   12-point typeface or smaller. GAIC did not request leave to file its Counterclaim using
                                                            a font size smaller than 14-point. Thus, the footnotes in GAIC’s Counterclaim do not
                                                       28   comply with this Court’s Standing Order and should be struck from the Court’s record.
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                                                       1    excessive use of single-spaced footnotes); see also Singh v. Am. Honda Fin. Corp., 925
                                                       2    F.3d 1053, n.23 (9th Cir. 2019) (“In light of Singh’s extensive use of footnotes, the
                                                       3    district court was well within its discretion to strike three pages from his brief.”).
                                                       4          Many courts have properly stricken unnecessary evidentiary detail from
                                                       5    pleadings; as such detail need not be pleaded. In re Beef Indus. Antitrust Litig., 600 F.2d
                                                       6    at 1169; Control Data Corp. v. Int’l Bus. Machines Corp., 421 F.2d 323, 326 (8th Cir.
                                                       7    1970) (striking unnecessary evidential detail from a pleading and stating, “[i]t has long
                                                       8    been basic to good pleading that evidentiary matters be deleted”). Like those courts, this
                                                       9    court should reject GAIC’s attempt to plead evidence and strike all of GAIC’s footnotes
                                                       10   from the Counterclaim.
                                                       11         C.     BOARDRIDERS WILL BE PREJUDICED            IF THE   COURT FAILS     TO   STRIKE
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                                                       12         THE AFFIRMATIVE DEFENSES AND FOOTNOTES
                                                       13         The Court should “properly grant the motion to strike for the purpose of
                                                       14   streamlining the ultimate resolution of the action....” Fantasy, Inc., 984 F.2d at 1528.
                                                       15   Courts differ on whether a movant must show prejudice in support of a motion to strike
                                                       16   affirmative defenses, indeed for many, “[g]ranting a motion to strike under Rule 12(f)
                                                       17   does not turn on whether the moving party can show prejudice if the pleading itself is
                                                       18   insufficient under Rule 8(b).” LumaSense Techs., Inc. v. Advanced Eng'g Servs., LLC,
                                                       19   No. 20-CV-07905-WHO, 2021 WL 2953237, at *5 (N.D. Cal. July 14, 2021).
                                                       20         In any event, “the prospect of expensive and potentially unnecessary and
                                                       21   irrelevant discovery is more than sufficient prejudice to justify a motion to strike.”
                                                       22   Bureau of Consumer Financial Protection, 2021 WL 2982275, at *3; accord
                                                       23   Verdiglione v. Mercado Del Rio Prop., LLC, No. SACV19490JVSDFMX, 2019 WL
                                                       24   6711700, at *5 (C.D. Cal. June 3, 2019) (same). The potential for the “cascading
                                                       25   inefficiency of researching redundant matters” is also prejudicial. LumaSense
                                                       26   Technologies, Inc., 2021 WL 2953237, at *5.
                                                       27
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                                                       1          Striking GAIC’s affirmative defenses will avoid discovery fishing expeditions to
                                                       2    determine whether GAIC’s equivocal defenses “may” apply and the purported grounds
                                                       3    GAIC may have to avoid coverage based on unarticulated policy provisions,
                                                       4    “conditions,” and “laws.” Striking GAIC’s affirmative defenses will also prevent GAIC
                                                       5    from trying to hide behind an insufficiently pleaded affirmative defense to engage in a
                                                       6    fishing expedition designed to try and drum up additional ways to belatedly try to avoid
                                                       7    coverage.
                                                       8          Here, “[p]rohibiting the defendant from asserting factually insufficient
                                                       9    affirmative defenses saves time, money, and judicial resources.” Verdiglione, 2019 WL
                                                       10   6711700, at *5; see also Slocum, 2019 WL 6873653, at *5 (same); Harris v. Chipotle
                                                       11   Mexican Grill, Inc., 303 F.R.D. 625, 628 (E.D. Cal. 2014) (prejudice is found “where
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                                                       12   superfluous pleadings may confuse the jury, or where a party may be required to engage
                                                       13   in burdensome discovery around frivolous matters.”) (quoting J & J Sports Prods., Inc.
                                                       14   v. Luhn, No. 2:10-CV-03229 JAM, 2011 WL 5040709, at *1 (E.D. Cal. Oct. 24, 2011));
                                                       15   Bonshahi, 2012 WL 3638608, at *2 (“[T]he burden of conducting discovery regarding
                                                       16   irrelevant and unsustainable affirmative defenses constitutes … prejudice.”).
                                                       17         Just as the Court explained in Barnes v. AT & T Pension Ben. Plan-Nonbargained
                                                       18   Program, “[i]f the court were to permit legally unsustainable affirmative defenses to
                                                       19   survive, [plaintiff] would be required to conduct expensive and potentially unnecessary
                                                       20   and irrelevant discovery.” 718 F. Supp. 2d 1167, 1173 (N.D. Cal. 2010). Any argument
                                                       21   by GAIC “regarding prejudice cannot rescue its otherwise legally insufficient
                                                       22   affirmative defenses.” Id.
                                                       23         Similarly, it would be highly prejudicial and unduly costly and burdensome to
                                                       24   force Boardriders to conduct discovery on the far-reaching information GAIC includes
                                                       25   in its 21 separate single-spaced footnotes that incorporate 20 website addresses and at
                                                       26   least 25 different third-party news articles or reports to determine which allegations
                                                       27
                                                       28
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                                                       1    GAIC truly believes are material and pertinent to its claims against Boardriders. The
                                                       2    Court should strike GAIC’s footnotes from the record.
                                                       3    IV.   GAIC Improperly Inserts New Allegations in its Responses to the
                                                       4          Allegations in Boardriders’ Complaint, and Such Responses Should Be
                                                       5          Stricken for Failing to Comport with Federal Rule of Civil Procedure 8(b)
                                                       6          Portions of GAIC’s Answer were not filed in conformity with Rule 8(b) of the
                                                       7    Federal Rules and therefore must be stricken. Under Fed. R. Civ. P. 8(b)(1), a party
                                                       8    must respond to a pleading with admissions or denials that: “(A) state in short and plain
                                                       9    terms its defenses to each claim asserted against it; and (B) admit or deny the allegations
                                                       10   asserted against it by an opposing party.” Fed. R. Civ. P. 8(b)(1); see also Barnes, 718
                                                       11   F. Supp. 2d at 1170 (stating that “Federal Rule of Civil Procedure 8(b) requires that
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                                                       12   “[i]n responding to a pleading, a party must: (A) state in short and plain terms its
                                                       13   defenses to each claim asserted against it; and (B) admit or deny the allegations asserted
                                                       14   against it by an opposing party.”). “A denial must fairly respond to the substance of the
                                                       15   allegation.” Fed. R. Civ. P. 8(b)(2). In other words, a party should not stray from the
                                                       16   substance of the allegations in the Complaint.
                                                       17         This notion is bolstered by Rule 12(f) of the Federal Rules, which permit a Court
                                                       18   to strike “impertinent” material. Fed. R. Civ. P. 12(f). “Impertinent” has been defined
                                                       19   as allegations that are not responsive. See Fantasy, Inc., 984 F.2d at 1527.
                                                       20   (“‘Impertinent’ matter consists of statements that do not pertain, and are not necessary,
                                                       21   to the issues in question.”).
                                                       22         Based on the foregoing, the Court should strike Paragraph Nos. 1, 22, 37-41, 47,
                                                       23   59, 69, 72, 79, and 92 of GAIC’s Answer. As an initial matter, none of the responses
                                                       24   are stated in short and plain terms as required by Rule (b)(1)(A). They are elaborate and
                                                       25   confusing. Furthermore, they all go beyond simply admitting or denying the allegations
                                                       26   in the Complaint. In doing so, the responses fail to respond to the substance of the
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                                                       1    allegations, but instead are chock-full of extraneous commentary that is unresponsive
                                                       2    to the allegations.
                                                       3          For example, Paragraph No. 1 of the Complaint simply alleged that “[t]his a civil
                                                       4    action about GAIC’s continued refusal to pay Boardriders’ covered losses resulting
                                                       5    from an October 2019 ransomware attack.” (ECF No. 1, Compl. at 2:4-5) In response,
                                                       6    GAIC mentions overpaying millions of dollars, information that is not only inaccurate,
                                                       7    but also unresponsive to the Complaint’s allegation. (ECF No. 23, Answer at 1:9-12).
                                                       8    In GAIC’s response to Paragraph No. 79 of the Complaint, it mentions having made
                                                       9    “prior significant payments toward Boardriders’ claimed BI Loss and IT Costs.” (ECF
                                                       10   No. 23, Answer at 14:6-10). However, Boardriders’ corresponding allegation in the
                                                       11   Complaint does not concern the history of prior payments. (ECF No. 1, Compl. at 16:20-
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                                                       12   22). A closer look at the responses in GAIC’s Answer reveals additional unnecessary
                                                       13   information that was not part of the substance of the Complaint’s allegations.
                                                       14         GAIC’s Answer attempts to inject new allegations that are unresponsive to the
                                                       15   allegations in the Complaint. This does not comport with the requirements under the
                                                       16   Federal Rules of Civil Procedure. Therefore, Paragraph Nos. 1, 22, 37-41, 47, 59, 69,
                                                       17   72, 79, and 92 of GAIC’s Answer should be stricken.
                                                       18                                      CONCLUSION
                                                       19         Accordingly, Boardriders respectfully requests that the Court grant this motion
                                                       20   and strike Paragraph Nos. 1, 22, 37-41, 47, 59, 69, 72, 79, and 92 in GAIC’s Answer
                                                       21   (ECF No. 23), Affirmative Defense Nos. 1-8, 11-25, and 27-31 pled in GAIC’s Answer
                                                       22   (ECF No. 23), all footnotes pleaded in GAIC’s Counterclaim (ECF No. 23), and GAIC’s
                                                       23   exhibits to its Counterclaim (Exhibits 1-3 attached to the Answer and Counterclaim as
                                                       24   ECF Nos. 23-1, 23-2, 23-3).
                                                       25
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